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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


 NETLIST, INC.                                          Civil Case No. 2:22cv-00293-JRG
                                                                    (LEAD CASE)
                Plaintiff,

 v.

 SAMSUNG ELECTRONICS CO., LTD.,
 SAMSUNG ELECTRONICS AMERICA, INC.
 and SAMSUNG SEMICONDUCTOR, INC.,

                Defendants.


          DEFENDANT SAMSUNG’S MOTION TO EXPEDITE BRIEFING
      ON DEFENDANTS SAMSUNG’S RENEWED MOTION TO STAY (Dkt. 735)

       Defendants Samsung Electronics Co., Ltd., Samsung Electronics America Inc., and

Samsung Semiconductor Inc. (collectively “Samsung”) respectfully moves for expedited briefing

on its concurrently filed Renewed Motion To Stay Pending Appeal of the PTAB’s IPR Final

Written Decisions Invalidating the Asserted Claims of the ’912 and ’417 Patents (Dkt. 735).

(“Renewed Motion To Stay”).

       On July 30, 2024, the Patent Trial and Appeal Board (“PTAB”) issued a Final Written

Decision in IPR2023-00454 invalidating all asserted claims of U.S. Patent No. 11,093,417 (the

“’417 patent”). In its Renewed Motion To Stay, Samsung asks this Court to stay this case

pending the appeal of the PTAB’s decision. Given the stage of the case, Samsung respectfully

submits that there is good cause to expedite briefing on this motion.

       Counsel for Samsung conferred with counsel for Plaintiff Netlist, Inc. (“Netlist”) on an

expedited schedule and the parties exchanged competing proposals but could not reach

agreement. Samsung respectfully asks this Court to enter an order expediting Netlist’s deadline

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to respond to the Renewed Motion To Stay by one week, which would make the deadline to

respond August 8, 2024. Netlist would agree to expedite its response, but only on the condition

that the Parties forgo replies and sur-replies. At this time, Samsung is not willing to agree to

forego a reply without knowing how Netlist will respond to the Renewed Motion To Stay.

Accordingly, the Parties have reached an impasse.

       For these reasons, Samsung respectfully asks this Court to grant this Motion To Expedite

and enter an order that Netlist’s Response to Samsung’s Renewed Motion To Stay be filed no

later than August 8, 2024, with the Parties retaining the option under the Local Rules to file a

reply and sur-reply.



Dated: July 31, 2024                                  Respectfully submitted,

                                               By:    /s/ Melissa R. Smith

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               Attorneys for Defendants Samsung Electronics Co., Ltd.;
          Samsung Electronics America, Inc.; and Samsung Semiconductor, Inc.




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                            CERTIFICATE OF CONFERENCE

       I hereby certify that counsel for the parties met and conferred and exchanged the proposals

recited in the body of this Motion. The discussion conclusively ended in an impasse, leaving an

open issue for the Court to resolve. Samsung therefore files this Motion as opposed.

                                              /s/ J. Travis Underwood
                                            J. Travis Underwood



                               CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic

service are being served on July 31, 2024, with a copy of this document via the Court’s CM/ECF

system.

                                              /s/ Melissa R. Smith
                                            Melissa R. Smith




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